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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


JEREMIAH EZEKIEL COX,

       Plaintiff,

                                                   Civil Action No. 3:20CV374-HEH

C. SMITH,

       Defendant.


                               MEMORANDUM OPINION
                         (Dismissing Action Without Prejudice)

       On July 6,2020, the Court conditionally docketed Plaintiffs action. Plaintiff

requested leave to proceed informa pauperis. By Memorandum Order entered on July

30,2020,the Court directed Plaintiff to pay an initial partial filing fee of$0.73 or state

under penalty of perjury that he did not have sufficient assets to pay such a fee within

eleven(11) days ofthe date of entry thereof. See 28 U.S.C. § 1915(b)(1). Plaintiff failed

to do either. Instead, Plaintiff sent the Court a copy of his request for his trust account

information that he sent to the institution. By Memorandum Order entered on August 19,

2020,the Court informed Plaintiffthat he must comply with the orders ofthe Court if he

wished to continue to litigate this action. The Court provided Plaintiff with an additional

eleven(11)days in which to pay the fee.

       More than eleven(11)days have elapsed and Plaintiff has neither paid the initial

partial filing fee nor averred that he cannot pay such a fee. Therefore, Plaintiff is not

entitled to proceed informa pauperis. Plaintiffs disregard ofthe Court's directives
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warrants dismissal ofthe action. Accordingly, the action will be dismissed without

prejudice.

        An appropriate Order shall accompany this Memorandum Opinion.



                                                         /S/
                                 HENRY E.HUDSON
Date:                            SENIOR UNITED STATES DISTRICT JUDGE
Richmond, Virginia
